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                  United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________


No. 23-5243                                                 September Term, 2023
                                                                         1:15-cv-02122-RBW
                                                   Filed On: October 25, 2023 [2023647]
Foad Farahi,

               Appellant

        v.

Federal Bureau of Investigation,

               Appellee

                                         ORDER

      The notice of appeal was filed on October 23, 2023, and docketed in this court on
October 25, 2023. It is, on the court's own motion,

       ORDERED that appellant submit the documents listed below by the dates
indicated.

         Certificate as to Parties, Rulings, and
                                                                    November 27, 2023
         Related Cases
         Docketing Statement Form                                   November 27, 2023
         Entry of Appearance Form                                   November 27, 2023
         Procedural Motions, if any                                 November 27, 2023
         Statement of Intent to Utilize Deferred
                                                                    November 27, 2023
         Joint Appendix
         Statement of Issues to be Raised                           November 27, 2023
         Transcript Status Report                                   November 27, 2023
         Underlying Decision from Which Appeal
                                                                    November 27, 2023
         or Petition Arises
         Dispositive Motions, if any                                December 11, 2023

It is

        FURTHER ORDERED that appellee submit the documents listed below by the
USCA Case #23-5243          Document #2023647              Filed: 10/25/2023      Page 2 of 2


                   United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________

No. 23-5243                                                 September Term, 2023

dates indicated.

        Certificate as to Parties, Rulings, and
                                                                    November 27, 2023
        Related Cases
        Entry of Appearance Form                                    November 27, 2023
        Procedural Motions, if any                                  November 27, 2023
        Dispositive Motions, if any                                 December 11, 2023

It is

       FURTHER ORDERED that appellant submit a transcript status report every 30
days after the filing of the initial report, until all transcripts have been received. Within
three days of receipt of all transcripts, appellant is directed to file a Final Status Report
indicating the date the complete transcript was received. All reports must be served on
the parties and each reporter. It is

       FURTHER ORDERED that briefing in this case be deferred pending further order
of the court.

                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                   BY:    /s/
                                                          Laura M. Morgan
                                                          Deputy Clerk

The following forms and notices are available on the Court's website:

        Civil Docketing Statement Form
        Entry of Appearance Form
        Transcript Status Report Form
        Request to Enter Appellate Mediation Program
        Notice Concerning Expedition of Appeals and Petitions for Review
        Stipulation to be Placed in Stand-By Pool of Cases




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